23-11007-cgb Doc#121 Filed 09/23/24 Entered 09/23/24 20:41:06 Main Document Pg 1 of
                                         3



                             UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

  In Re:                                               §        Case No. 23-11007-CGB
  ARTIUSID, INC                                        §
                                                       §
  Debtor(s)                                            §                Chapter 7


               SECOND AMENDED TRUSTEE’S WITNESS AND EXHIBIT LIST

          Comes now Ron Satija, Trustee (“Trustee”), in the above-styled and numbered bankruptcy

  case and presents his Second Amended Witness and Exhibit List for the hearings scheduled on

  September 25, 2024.

                                                  Witnesses

          At the hearing, the Plaintiff may call the following persons to testify as witnesses:

          1.      Any witness designated by any other party

                                                  Exhibits

          At the hearing the Trustee may present one or more of the following exhibits:

   Exhibit                               Description                           Offered     Admitted
    No.
   T-1         Filed IOActive Proof of Claim
               Proposal to Provide Security Assessment Services – PID
   T-2
               and Guardian dated April 26, 2022
   T-3         Services Agreement dated with Effective Date May 2, 2022
   T-4         IOActive Invoice No. 7209
   T-5         IOActive Declaration
   T-6         Skypoint communication and invoice, ArtiusID-0000952
   T-7         Skypoint invoice, ArtiusID-0000954
   T-8         Harvest invoice, ArtiusID-0000129
   T-9         Payment records, ArtiusID-0000131
   T-10        Skypoint filed claim (Claim No. 3)

  Trustee’s 2d Amended Witness and Exhibit List
  Page 1
23-11007-cgb Doc#121 Filed 09/23/24 Entered 09/23/24 20:41:06 Main Document Pg 2 of
                                         3




  Trustee reserves the right to call or to introduce one or more, or none, of the witnesses and exhibits

  listed above, and reserves the right to call additional witnesses and introduce additional exhibits in

  rebuttal. Trustee further reserves the right to supplement and amend this list prior to the hearing.


  Dated: September 23, 2024


                                                  Respectfully submitted,

                                                  Hayward PLLC

                                                  /s/ Ron Satija
                                                  Ron Satija
                                                  State Bar No. 24039158
                                                  Todd Headden
                                                  SBN No. 24096285
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                                                  Austin, TX 78757
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                                                  rsatija@haywardfirm.com
                                                  theadden@haywardfirm.com
                                                  PROPOSED COUNSEL FOR RON SATIJA,
                                                  CHAPTER 7 TRUSTEE




  Trustee’s 2d Amended Witness and Exhibit List
  Page 2
23-11007-cgb Doc#121 Filed 09/23/24 Entered 09/23/24 20:41:06 Main Document Pg 3 of
                                         3



                                      CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on September 23, 2024, a true and correct copy of
  the foregoing document was served via email pursuant to the Court’s ECF filing system upon those
  parties receiving electronic notice in this case. Further, the documents were served via e-mail to
  the following parties.

                                                    /s/ Ron Satija
                                                    Ron Satija

   Mark D. Bloom                                    Lynn Hamilton Butler
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  Trustee’s 2d Amended Witness and Exhibit List
  Page 3
